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Judgment in a Civil Case


                           United States District Court
                       WESTERN DISTRICT OF NEW YORK



     Hector L. Valentin                             JUDGMENT IN A CIVIL CASE
                                                    CASE NUMBER: 11-CV-6238
            v.

     City of Rochester et al.,


     ☐ Jury Verdict. This action came before the Court for a trial by jury. The
     issues have been tried and the jury has rendered its verdict.

     ☒ Decision by Court. This action came before the Court. The issues have
     been heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED that this entire action is dismissed with
     prejudice.




     Date: October 25, 2018                  MARY C. LOEWENGUTH
                                             CLERK OF COURT

                                             By: Barbara Keenan
                                                 Deputy Clerk
